Case 2:04-Cr-20464-BBD Document 94 Filed 08/03/05 Page 1 of 2 Page|D 104

 

J:N lrrm uNJ:TF.D s'rA'rEs nrsTRIc-r coURT F|L£n BY,%_ D.C.
Fon m wEs'rERN nIsTR:c'r oF TENNESSEE
WESTERN DIVISION 05 AUG _3 PH 53 29
H{)MASM. GUU.D
CIERK_. U.S. D“STR!CT CCLHT
UNITED STATES OF AMERICA W!DC%" .?~E\ 51"1':»’»§??€!3

Plaintiff,
VS. CR. NO. 04-20464-D

KATHY SMITH DENTON
Defendant.

-._¢~»_»-._’~._r~_r-..'~._¢\_¢~_,~_,¢

 

oRDER oN cHANGE oF PLEA
mm SETTING

 

This cause came to be heard on August 2, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Kathy Smith Denton, appearing in person and
with counsel, Edwin A. Perry, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered. a plea of guilty to Count 2 of the
Indictment.

Count l shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, NOVEMBER 2, 2005, at
1:30 P.H., in Courtroom Nb. 3, on the 9“ floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the 3 day of Augusc, 2005.

 

 

This document entered on the docket shea in compliance

warn sues 55 and/orsz(b) FHCrP on ' 'U Q%

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 94 in
case 2:04-CR-20464 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

